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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

DIVISION
IN RE:
Harris Warren CASE NO.: 3:23-bk-02912-JAF
Debtor(s). Chapter: 13
[AMENDED (if applicable)] CHAPTER 13 PLAN
A. NOTICES.

Debtor! must check one box on each line to state whether or not the Plan includes each of the following
items. If an item is checked as “Not Included,” if both boxes are checked, or if neither box is checked,
the provision will be ineffective if set out later in the Plan.

A limit on the amount of a secured claim based on a valuation that may result in | Included Not Included

a partial payment or no payment at all to the secured creditor. See Sections 0 Oo

C.3(d) and (e). A separate motion will be filed.

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security | Included Not Included

interest under 11 U.S.C. § 522(f). A separate motion will be filed. See Section Cy oO

C.3(e).

Provisions for student loan(s), set out in Section E. Inchided Not Included
O

Nonstandard Provisions, set out in Section E. Included Not Included
x CI

THIS AMENDED PLAN PROVIDES FOR PAYMENTS TO Included Not Included

CREDITOR/LESSOR [Enter Here] TO BE INCLUDED IN PLAN gO cy

PAYMENTS; THE AUTOMATIC STAY IS REINSTATED AS TO THIS

CREDITOR.

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED
CREDITOR UNDER SECTION C.5()) OF THIS PLAN, TO SURRENDER THE SECURED
CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT MAKE PAYMENTS TO THE
SECURED CREDITOR UNDER SECTION C.5(k), OR IF PAYMENTS TO A SECURED
CREDITOR ARE NOT SPECIFICALLY INCLUDED IN THE PLAN PAYMENTS, THE
AUTOMATIC STAY DOES NOT APPLY, AND THE CREDITOR MAY TAKE ACTION TO
FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR LOANS,
AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A SECURITY INTEREST
IN PERSONAL OR REAL PROPERTY COLLATERAL.

’ All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
. Effective December 4, 2023

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. Plan payments (“Plan Payments”) include the Trustee’s fee of

B. MONTHLY PLAN PAYMENTS
10% and shall begin 30 days from the petition filing/conversion date. The debtor shall make Plan
Payments to the Trustee for the period of _6 0 _ months. If the Trustee does not retain the full
10%, any portion not retained will be disbursed to allowed claims receiving payments under the
Plan and may cause an increased distribution to the unsecured class of creditors.
$3,867.00 from month 1 through
$ from month through
$ from month through

C. PROPOSED DISTRIBUTIONS.
1. ADMINISTRATIVE ATTORNEY'S KEES.
Base Fee $__1,500.00 Total Paid Prepetition $__1,500.00_ Balance Due $___ 1,500.00
MMM Fee $ Total Paid Prepetition $ Balance Due $
Estimated Monitoring Fee at $ per Month.
Attorney’s Fees Payable Through Plan at $__25.00__ Months 3-60 (subject to adjustment).
2.

Acct. No. Creditor Total Claim Amount

3. PRIORITY CLAIMS (as defined in LL ULS.C.§ 507).

Last Four Digits of Acct. No.

Creditor

Total Claim Amount

7782

Internal Revenue Services

$1,656.07

4, TRUSTEE FEES. From each Plan Payment received from Debtor, the Trustee shall

receive a fee, the percentage of which is fixed periodically by the United States Trustee.

5, SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the
Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection payments. The
Trustee shall disburse adequate protection payments to secured creditors prior to confirmation, as soon as

practicable, if the Plan provides for payment to the secured creditor, the secured creditor has filed a proof.

of claim, or Debtor or Trustee has filed a proof of claim for the secured creditor under 11 U.S.C. § 501{c),

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and no objection to the claim is pending. If Debtor’s Plan Payments are timely paid, payments to secured
creditors under the Plan shall be deemed contractually paid on time.

(a) Claims Secured by Debtor’s Principal Residence that Debtor Intends to Retain —
Mortgage, HOA and Condominium Association Assessments, and Arrears, if any, Paid
Through the Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition arrearages and
maintain regular monthly postpetition payments on the following claims secured by Debtor’s
principal residence. Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of
personal liability on these claims.

Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments
are due on the first payment due date after the case is filed and continue monthly thereafter.
The amount of postpetition mortgage payments may be adjusted as provided for under the loan
documents. Postpetition ongoing homeowner’s association and condominium association
assessments may be included in the Plan or may be paid direct. If Debtor intends to pay
postpetition assessments through the Plan, list the Regular Monthly Payment. If Debtor intends
to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment column.

Last Four Creditor Collateral Regular Gap Payment | Arrears
Digits of Address Monthly
Acct. No. Payment
9173 INewrez 6331 Forest Stomp/$2,257.48 $62,064.30
Ln, Jacksonville,
FL.

(b) Ciaims Secured by Other Real Property that Debtor Intends to Retain — Mortgage,
HOA and Condominium Association Assessments, and Arrears, if any, Paid Through the
Plan Under 11 U.S.C. § 1322(b)(5). Debtor will cure prepetition atrearages and maintain
regular monthly postpetition payments on the following claims secured by Debtor’s real
property. Under 11 U.S.C. § 1328(a)(1), Debtor will not receive a discharge of personal liability
on these claims.

Postpetition mortgage payments must be included in the Plan Payments. Mortgage payments
are due on the first payment due date after the case is filed and continue monthly thereafter.
The amount of postpetition mortgage payments may be adjusted as provided for under the loan
documents. Postpetition ongoing homeowner’s association and condominium association
assessments may be included in the Plan or may be paid direct. If Debtor intends to pay
postpetition assessments through the Plan, list the Regular Monthly Payment. If Debtor intends
to pay postpetition assessments direct, state “Direct” in the Regular Monthly Payment column.

Last Four
Digits of
Acct. No.

Creditor Collateral Regular Gap Payment | Arrears
Address Monthly
Payment

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(c) Claims Secured by Real Property —- Debtor Seeks Mortgage Modification Mediation
(MMM). No later than 90 days from the petition date or the date the case converts to Chapter
13, Debtor shall file a motion seeking MMM. Information and forms related to MMM are
available in the Court’s Procedure Manual on the Court’s website, www. flmb.uscourts.gov.

ing

cs :
premium, If Debtor obtains a modification of the mortgage, the modified
ust be included in the Plan Payments. Debtor will not receive a discharge of personal
liability on these claims.

Last Four Digits of || Creditor Collateral Address Adequate Protection
Acct. No. Payment

(d) Claims Secured by Real Property or Personal Property to Which 11 U.S.C. § 506
Valuation Applies (Strip Down). Under 11 U.S.C. § 1322(b)(2), this provision does not apply to
a claim secured solely by Debtor’s principal residence. A separate motion to determine secured
status or to value the collateral must be filed. Payment on the secured portion of the claim,
estimated below, is included in the Plan Payments. Unless otherwise stated in Section E, the Plan
Payments do not include payments for escrowed property taxes or insurance.

Last Four Creditor Collateral Claim Value Payment Interest
Digits of Description/ | Amount Through Rate
Acct. No. Address Plan

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506. Debtor
must file a separate motion (i) under 11 U.S.C. § 522 to avoid a judicial lien or a nonpossessory,
nonpurchase-money security interest because it impairs an exemption or (iij}under 11 U.S.C. §
506 to determine secured status and to strip a lien.

Last Four Digits of Acct. No. Creditor Collateral Description /
Address

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(f) Payments on Claims Secured by Real Property and/or Personal Property te Which 11
U.S.C. § 506 Valuation DOES NOT APPLY Under the Final Paragraph in 11 U.S.C,
§ 1325(a). The claims listed below were either: (J) incurred within 910 days before the petition
date and secured by a purchase money security interest in a motor vehicle acquired for Debtor’s
personal use; or (2) incurred within one year of the petition date and secured by a purchase money
security interest in any other thing of value. These claims will be paid in full under the Plan with

interest at the rate stated below.

Last Four Creditor Collateral Claim Payment Interest Rate
Digits of Description/ Amount Through Plan
Acet. No, Address

(g) Claims Secured by Real or Persona
Under 11 U.S.C, § 1322(b)(2
residence that mature during the Plan).

Plan with interest at the rate stated below.

I Property to be Paid with Interest Th
1322(€)(2). (for claims secured by. Debto
The following secured claims will be paid in full under the

principal

Last Four Creditor Collateral Claim Payment Interest Rate
Digits of Description/ Amount Through Plan
Acct. No, Address

(h) Claims Secured by Personal Property — Maintaining Regular Payments and Curing
Arrearages, if any, Under 11 U.S.C. § 1322(b)(5). Under 11 U.S.C. § 1328(a)(1), unless the

principal amount of the claim is paid in full throu

of personal liability on these claims.

gh the Plan, Debtor will not receive a discharge

Last Four Digits | Creditor Collateral Regular Arrearage
of Acct. No. Description Contractual
Payment

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(i) Secured Claims Paid Directly by Debtor. The following secured claims are paid via automatic
debit/draft from Debtor’s depository account and will continue to be paid directly to the creditor or
lessor by Debtor outside the Plan via automatic debit/draft. The automatic stay under 11

U.S.C. §§ 362(a) and 1301 (a) is terminated in rem as to Debtor and in rem and in personam as to
any codebtor as to these creditors and Jessors upon the filing of this Plan. Nothing herein is intended
to terminate or abrogate Debtor’s state law contract rights. Because these secured claims are not
provided for under the Plan, under 11 U.S.C § 1328(a), Debtor will not receive a discharge of
personal liability on these claims.

Last Four Digits of Acct. No. Creditor Property/Collateral

()) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the following
collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is terminated in rem
as to Debtor and in rem and in personam as to any codebtor as to these creditors upon the filing of
this Plan.

Last Four Digits of Acct. No. Creditor Collateral

Description/Address

(k) Secured Claims that Debtor Does Not Intend to Pay. Debtor does not intend to make
payments to the following secured creditors. The automatic stay under 11 U.S.C. §§ 362(a) and
1301(a) is terminated in rem as to Debtor and in rem and in personam as to any codebtor with
respect to these creditors upon the filing of this Plan. Debtor’s state law contract rights and defenses
are neither terminated nor abrogated. Because these secured claims are not provided for under the
Plan, under 11 U.S.C § 1328(a), Debtor will not receive a discharge of personal liability on these
claims.

Last Four Digits of Acct. No. Creditor Collateral

Description/Address

6. LEASES/EXECUTORY CONTRACTS. As and for adequate protection, the Trustee

shall disburse payments to creditors under leases or executory contracts prior to confirmation of the Plan,

as soon as practicable, if the Plan provides for payment to creditor/lessor, the creditor/lessor has filed a
proof of claim, or Debtor or Trustee has filed a proof of claim for the secured creditor/lessor under 11
U.S.C. § 501(c), and no objection to the claim is pending. If Plan Payments are timely paid, payments to
creditors/lessors under the Plan shall be deemed contractually paid on time.

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{a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid and
Arrearages Cured Through the Plan Under 11 U.S.C. § 1322(b){7). Debtor assumes the
following leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows. Under 11 U.S.C. § 1328(a)( 1), if the claim of the lessor/creditor is not paid in full through
the Plan, Debtor will not receive a discharge of personal liability on these claims.

Last Four Digits | Creditor/Lessor Description of Regular Arrearage and
of Acct. No. Leased Property | Contractual Proposed Cure
Payment

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid
Directly by Debtor. Debtor assumes the following lease/executory contracts that are paid via
automatic debit/draft from Debtor’s depository account and are to continue to be paid directly to
the creditor or lessor by Debtor outside the Plan yia automatic debit/draft. The automatic stay under
11 U.S.C. §§ 362(a) and 1301 (a) is terminated in rem as to Debtor and in rem and in personam as
to any codebtor as to these creditors and lessors upon the filing of this Plan. Nothing herein is
intended to terminate or abrogate Debtor’s state law contract rights. Because these leases/executory
contracts are not provided for under the Plan, under 11 U.S.C § 1328(a), Debtor will not receive a
discharge of personal liability on these claims.

Last Four Digits of Acct. No. Creditor/Lessor Property/Collateral

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased
Property. Debtor rejects the following leases/executory contracts and will surrender the following
leased real or personal property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a) is
terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these creditors
and lessors upon the filing of this Plan.

Last Four Digits of Acct. No. Creditor/Lessor Property/Collateral te be

Surrendered

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7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed
claims shall receive a pro rata share of the balance of any funds remaining after payments to the above-
referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan. The estimated
dividend to unsecured creditors shall be no less than $

D. GENERAL PLAN PROVISIONS:

i, Secured creditors, whether or not provided for under the Plan, shall retain the liens securing
their collateral.
2. Payments made to any creditor shall be based upon the amount set forth in the creditor’s

proof of claim or other amount as allowed by order of the Court.

3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of
the estate shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this
case, unless the Court orders otherwise. Property of the estate

(2) shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of
this case, unless the Court orders otherwise, or

(b) shall vest in Debtor upon confirmation of the Plan.

4, The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief
and/or the proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the
Trustee shall only pay creditors with filed and allowed proofs of claim. An allowed proof
of claim will control, unless the Court orders otherwise.

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated
distributions, The actual distributions may vary. If the summary or spreadsheet conflicts
with this Plan, the provisions of the Plan control prior to confirmation, after which time the
Order Confirming Plan shall control.

6. Debtor must timely file all tax returns and make all tax payments and deposits when due.
(However, if Debtor is not required to file tax returns, Debtor must provide the Trustee
with a statement to that effect.) For each tax return that becomes due after the case is filed,
Debtor must provide a complete copy of the tax return, including business returns if Debtor
owns a business, together with all related W-2s and Form 1099s, to the Trustee within 14
days of filing the return. Unless consented to by the Trustee or ordered by the Court, Debtor
must turn over to the Trustee all tax refunds in addition to the Plan Payments. Debtor must
not instruct the Internal Revenue Service or other taxing agency to apply a refund to the
following year’s tax liability. Debtor must not spend any tax refund without first having
obtained the Trustee’s consent or Court approval.
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A A PROVISIONS ned in
3015(c). Note: Any nonstandard provisions of this Plan
deemed void and are stricken.

sev a Fe I ADR Fi
other than those set out in this Section are

CERTIFICATION

By filing this document, the Attorney for Debtor, or Debtor, if not represented by an attorney,
certifies that the wording and order of the provisions in this Chapter 13 Plan are identical to those
contained in the Model Plan adopted by this Court, and that this Plan contains no additional or
deleted wording or nonstandard provisions other than any nonstandard provisions included in

Section E.

SIGNATURE(S):
Debtor(s)
Harris Warren
Date 08/27/2024
Date

Attorney for Debtor(s)

Gerald B. Stewart, Esq
Date 08/27/2024

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